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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )             CASE NO. MJ 10-547
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )             DETENTION ORDER
11   DAN PETRI,                           )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:         Possession of Counterfeit or Unauthorized Access Devices

15 Date of Detention Hearing:      January 11, 2011

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          (1)     Defendant is a citizen and national of Romania. The United States alleges that he

22 lacks legal status in the United States and, therefore, is in this country illegally. An immigration




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01 detainer has been placed on defendant by the Bureau of Immigration and Customs Enforcement.

02          (2)     Defendant has strong family ties to Romania, and none to either Canada or the

03 United States. His financial information in unverified. His verification sources provided

04 somewhat contradictory information.

05          (3)     Defendant poses a risk of nonappearance due to his immigration status, and the

06 lack of verification of his financial information, plus lack of ties to this country. If released, he

07 would be taken into immigration custody and possibly deported. He poses a risk of danger due

08 to the nature and circumstances of the instant offense.

09          (4)     There does not appear to be any condition or combination of conditions that will

10 reasonably assure the defendant’s appearance at future Court hearings while addressing the

11 danger to other persons or the community.

12 It is therefore ORDERED:

13          (1)     Defendant shall be detained pending trial and committed to the custody of the

14                  Attorney General for confinement in a correction facility separate, to the extent

15                  practicable, from persons awaiting or serving sentences or being held in custody

16                  pending appeal;

17          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

18                  counsel;

19          (3)     On order of a court of the United States or on request of an attorney for the

20                  Government, the person in charge of the corrections facility in which defendant

21                  is confined shall deliver the defendant to a United States Marshal for the purpose

22                  of an appearance in connection with a court proceeding; and




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01       (4)   The clerk shall direct copies of this Order to counsel for the United States, to

02             counsel for the defendant, to the United States Marshal, and to the United States

03             Pretrial Services Officer.

04       DATED this 12th day of January, 2011.



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06                                           Mary Alice Theiler
                                             United States Magistrate Judge
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     DETENTION ORDER                                                                   PAGE 3
